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                   IN THE BANKRUPTCY COURT OF THE UNITED STATES
                           FOR THE DISTRICT OF CO**DENVER


IN THE MATTER OF: ROMERO II, ANTHONY                 BANKRUPTCY CASE NO. 0913729MER
SSN: ###-##-0536                                     POC AMOUNT: $13,884.11
                                                     Claims #3 & #4


                             NOTICE OF ASSIGNMENT OF CLAIM
                                          AND
                            TRANSFEREE NOTICE OF TRANSFER
                                     OF PAYMENTS


 Educational Credit Management Corporation (ECMC), the "Transferee", does hereby give
 notice to the Court that it has accepted assignment and transfer of the student loan(s) included
 in the claim for the above-referenced debtor from the CALIFORNIA STUDENT AID
 COMMISSION.

 Please direct all future payments and correspondence as follows:

     Correspondence:                     Payments:
     ECMC                                ECMC
     PO Box 75906                        Lockbox 8682
     St. Paul, MN 55175                  P.O. Box 75848
                                         St. Paul, MN 55175-0848


 Pursuant to the attached Assignment from CALIFORNIA STUDENT AID COMMISSION, the
 Transferor, notification and hearing has been waived with respect to this Notice of Assignment
 of Claim to ECMC pursuant to Bankruptcy Rule 3001.


 EDUCATIONAL CREDIT MANAGEMENT CORPORATION

  By: /s/ Anderson, Jodi                                                4/27/2009
  ECMC Representative                                                   Date
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